
50 So.3d 753 (2010)
Johnny ROMERO, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-862.
District Court of Appeal of Florida, Fourth District.
December 22, 2010.
Johnny Romero, Lake City, pro se.
No appearance required for appellee.
PER CURIAM.
Affirmed without prejudice to the appellant filing a sufficient motion under Florida Rule of Criminal Procedure 3.800(a) on the new ground for relief raised in the appellant's motion for rehearing from his first motion, i.e., that the trial court failed to orally adjudicate appellant a habitual offender.
WARNER, FARMER and CIKLIN, JJ., concur.
